                          Case 4:21-mj-06053-N/A-JR Document 1 Filed 11/13/21 Page 1 of 17
AO 442 (Rev. I 1/1 I) Arrest Warrant                                                                                      FILED            LODGED


                                                                                                                         Nov 15 2021
                                           UNITED STATES DISTRICT COURT                                                   CLERK U.S. DISTRICT COURT
                                                                                                                             DISTRICT OF ARIZONA




                                                                  for the
                                                     Western D.istrict of Washington      SEALED
                      United States of America                                           21-06053M
                                     V.                             )
                                                                    )       Case No.     CR20-120 (9) RSM
                                                                    )
                                                                    )
                RAFAEL ALEJANDRO CANEZ
                                                                    )
                                                                    )
                               Defendant


                                                      ARREST WARRANT
To:       Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson   10          RAFAEL ALEJANDRO CANEZ
                      be arrested)                       ------------------------
who is accused of an offense or violation based on the following document filed with the court:

� Indictment                O Superseding Indictment       O Information         O Superseding Information             O Complaint
0 Probation Violation Petition              O Supervised Release Violation Petition       O Violation Notice           O Order of the Court

This offense is briefly described as follows:
  Count 1: Conspiracy to Commit Money Laundering, in violation of Title 18, United States Code, Sections 1956 and 1957;
  Counts 31-32, 35, 42: Money Laundering, in violation of Title 18, United States Code, Sections 1956(a)(1)(B)(i) and 2;
  Counts 76 and 79: International Money Laundering, in violation of Title 18, United States Code, Sections 1956(a)(2)(B)(i)
  and 2.




Date:          08/17/2020
                                                                                           Issuing officer's signature

City and state:          Seattle, Washington                                Ma    Alice Theiler, United States Ma
                                                                                             Prinled name and 1ilfe


                                                                 Return

           This warrant was received on (da1e) 08/17/2020               , and the person was an-ested on (dale) 11/13/2021
at (cily and state) Nogales, Arizona�-------


Date: 11/14/2021                                                                   µ/�
                                                                                  f1
                                                                                     �/                  Digitally signed by JUSTIN T CHUMLEY
                                                                                                         Date: 2021.11.1420:12:10-07'00'
                                                                                          Arresting officer's signalure


                                                                                       Justin Chumley Special Agent
                                                                                             Pri11led name and 1ilfe


 NDN
Case 4:21-mj-06053-N/A-JR Document 1 Filed 11/13/21 Page 2 of 17
Case 4:21-mj-06053-N/A-JR Document 1 Filed 11/13/21 Page 3 of 17
Case 4:21-mj-06053-N/A-JR Document 1 Filed 11/13/21 Page 4 of 17
Case 4:21-mj-06053-N/A-JR Document 1 Filed 11/13/21 Page 5 of 17
Case 4:21-mj-06053-N/A-JR Document 1 Filed 11/13/21 Page 6 of 17
Case 4:21-mj-06053-N/A-JR Document 1 Filed 11/13/21 Page 7 of 17
Case 4:21-mj-06053-N/A-JR Document 1 Filed 11/13/21 Page 8 of 17
Case 4:21-mj-06053-N/A-JR Document 1 Filed 11/13/21 Page 9 of 17
Case 4:21-mj-06053-N/A-JR Document 1 Filed 11/13/21 Page 10 of 17
Case 4:21-mj-06053-N/A-JR Document 1 Filed 11/13/21 Page 11 of 17
Case 4:21-mj-06053-N/A-JR Document 1 Filed 11/13/21 Page 12 of 17
Case 4:21-mj-06053-N/A-JR Document 1 Filed 11/13/21 Page 13 of 17
Case 4:21-mj-06053-N/A-JR Document 1 Filed 11/13/21 Page 14 of 17
Case 4:21-mj-06053-N/A-JR Document 1 Filed 11/13/21 Page 15 of 17
Case 4:21-mj-06053-N/A-JR Document 1 Filed 11/13/21 Page 16 of 17
Case 4:21-mj-06053-N/A-JR Document 1 Filed 11/13/21 Page 17 of 17
